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12   HARISH SINGH SIDHU

13                             UNITED STATES DISTRICT COURT
14                            CENTRAL DISTRICT OF CALIFORNIA
15                                   SOUTHERN DIVISION
16   UNITED STATES OF AMERICA,                     Case No. 8:23-cr-00114-JWH
17
                 Plaintiff,                        DEFENDANT’S OJECTIONS TO
18                                                 PRESENTENCE REPORT AND
19         v.                                      POSITION RE: SENTENCING;
                                                   EXHIBITS A-B
20   HARISH SINGH SIDHU,
21                                                 Sentencing Date: March 28, 2025
                 Defendant.                        Sentencing Time: 2:00 p.m.
22
23
24         Defendant Harish Singh Sidhu, by and through his attorneys of record Paul S.
25   Meyer and Craig Wilke, hereby files a memorandum setting forth his objections to the
26   revised Presentence Report (ECF 32) and his position regarding sentencing; his
27   /
28   /
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 1   personal statement attached hereto as Exhibit A; and statements of family members,
 2   friends, and colleagues attached hereto as Exhibit B.
 3                                                  Respectfully submitted,
 4   Dated: March 14, 2025                                        /s/
                                                    PAUL S. MEYER
 5
                                                    CRAIG WILKE
 6                                                  Attorneys for Defendant
 7                                                  Harish Singh Sidhu

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10   THE ADVISORY SENTENCING GUIDELINE RANGE IS 8-14 MONTHS
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12   THE COURT SHOULD SENTENCE MR. SIDHU TO THREE YEARS’
13   PROBATION AND A $40,000 FINE                                                      12

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 2   A.   Personal Statement of Harish Sidhu
 3   B.   Statements of Family Members, Friends, and Colleagues
 4        1.    Statement of Rajinder Sidhu
 5        2.    Statement of Sohina K. Sidhu
 6        3.    Statement of Kam Bansal
 7        4.    Statement of Jasjit S. Johal
 8        5.    Statement of Paul C. Barton
 9        6.    Statement of Shekhar Chitnis
10        7.    Statement of Shiv Grewal
11        8.    Statement of Janak R. Chopra
12        9.    Statement of Anita Pande
13        10.   Statement of Anita DeLeon
14        11.   Statement of Alice Lai
15        12.   Statement of Mahesh S. Vyan, M.D.
16        13.   Statement of Nitin Shah, M.D.
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 1                              SENTENCING MEMORANDUM
 2                                      INTRODUCTION
 3         Harish “Harry” Sidhu is a 67-year-old first-time offender and the former Mayor
 4   of the City of Anaheim. (PSR ¶¶ 21, 100-108, 110).1 He appears for sentencing after
 5   waiving indictment and pleading guilty to a four-count information charging him with
 6   destroying emails with the intent to impede or obstruct a federal investigation in
 7   violation of 18 U.S.C. § 1519 and false statements in violation of 18 U.S.C.
 8   § 1001(a)(2) which relate to a federal investigation of the City’s agreement to sell the
 9   Angels Stadium site (Counts One and Four); and wire fraud in violation of 18 U.S.C.
10   § 1343 and false statements in violation of 18 U.S.C. § 1001(a)(2) which relate to his
11   evasion of $15,887 in California sales tax on his purchase of a helicopter (Counts Two
12   and Three). (PSR ¶¶ 1-5). Following public disclosure of the investigation, Mr. Sidhu
13   voluntarily resigned as Mayor, cooperated with federal authorities, and made full
14   restitution with interest to the State of California. (PSR ¶¶ 26, 50).
15         The Probation Office accurately describes Mr. Sidhu’s offense conduct as well as
16   his history and characteristics. (PSR ¶¶ 20-48, 100-176). It calculates the advisory
17   sentencing guideline range at 10-16 months and the fine range at $5,000 to $55,000
18   based on a total offense level 12 and criminal history category I. (PSR ¶¶ 203, 216).
19   This offense level calculation includes a 2-level specific offense characteristic
20   adjustment under U.S.S.G. § 2J1.2(b)(3)(B) for destroying an “essential” document.
21   (PSR ¶¶ 73-76). The Probation Office recommends a variance from the advisory
22   sentencing guideline range based on mitigating factors relating to Mr. Sidhu’s history
23   and characteristics, including his educational history, stable employment history, age
24   and health issues. (PSR ¶ 221; USPO Rec. at 6-7). The Probation Office recommends
25   three-years’ probation, a $175,000 fine, and 400 hours of community service.
26
27         1
            “PSR” refers to the Revised Presentence Report filed February 28, 2025. (ECF
28   33). “USPO Rec.” refers to the United States Probation Office’s revised
     recommendation letter filed February 28, 2025. (ECF 32).
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 1         Mr. Sidhu concurs with the Probation Office’s recommendation that he be
 2   sentenced to probation but objects to the Probation Office’s advisory sentencing
 3   guideline calculation, the amount of the fine, and asks for the Court to determine a
 4   reasonable amount of community service in light of the facts and the charges to which
 5   he pleaded guilty. A 2-level specific offense characteristic adjustment under U.S.S.G.
 6   § 2J1.2(b)(3)(B) for destroying an “essential” document does not apply because the
 7   deleted emails, while relevant, were not essential to the government’s investigation
 8   since the government obtained the emails from another source. Without this
 9   adjustment, Mr. Sidhu’s advisory sentencing guideline range is 8-14 months and the
10   fine range is $4,000 to $40,000 based on a total offense level 11 and criminal history
11   category I. Mr. Sidhu agrees that a variance is appropriate for the reasons noted by the
12   Probation Office as well as his early and extraordinary acceptance of responsibility
13   which, in addition to immediately resigning as Mayor, paying full restitution, and
14   waiving indictment and his appellate rights (PSR ¶ 12), includes his cooperation with
15   the government by providing complete and truthful information about several ongoing
16   matters. Nonetheless, the recommended fine of $175,000 fine (which is more than four
17   times the high end of advisory sentencing guideline range) and 400 hours of
18   community service are greater than necessary to promote respect for the law, punish
19   Mr. Sidhu, and deter others from criminal conduct. Considering the nature and
20   circumstances of the offense, Mr. Sidhu’s history and characteristics, and the advisory
21   sentencing guideline range, a sentence of three-years’ probation and a $40,000 fine is
22   appropriate.
23                                 STATEMENT OF FACTS
24   History and Characteristics of the Defendant
25         Mr. Sidhu’s history and characteristics are accurately detailed in paragraphs 100-
26   176 of the Revised Presentence Report, his personal statement attached hereto as
27   Exhibit A, and the statements of family members, friends, and colleagues attached
28   hereto as Exhibit B. To summarize, Mr. Sidhu was born in India, immigrated to the

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 1   United States with $6 in his pocket, and became a naturalized United States citizen.
 2   (PSR ¶¶ 110, 114, 119). Through education and hard work, Mr. Sidhu became an
 3   engineer and a successful businessman who is now retired. (PSR ¶¶ 113-118, 120, 123-
 4   124, 147-152, 157-158, 160-162, 170-174). He has no criminal history (PSR ¶¶ 100-
 5   108) and has dedicated the past twenty years of his life to public service by serving on
 6   the boards of several community organizations, the Anaheim City Council for eight
 7   years, the Orange County Transportation Authority for four years, and as Anaheim
 8   Mayor for almost four years. (PSR ¶¶ 154-156, 163-169). He is a devoted husband and
 9   father to two adult daughters, has no history of drug or alcohol abuse, and no
10   significant mental health issues. (PSR ¶¶ 121-122, 142-146). He does have several
11   significant medical conditions including a 50% hearing loss in both ears for which he
12   requires hearing aids, a spinal condition that required surgery approximately fifteen
13   years ago and for which he continues to receive treatment, and a serious heart condition
14   that required surgery in 2021 and for which he takes medication. (PSR ¶¶ 129-141).
15   Nature and Circumstances of the Offense
16         Counts One and Four: Destruction of Emails and False Statements Relating
17         to the City’s Agreement to Sell the Angels Stadium Site
18         Mr. Sidhu waived his right to grand jury indictment and pleaded guilty to Counts
19   One and Four of the Information which charge him with destroying emails with the
20   intent to obstruct or impede a federal investigation in violation of 18 U.S.C. § 1519 and
21   false statements in violation of 18 U.S.C. § 1001(a)(2). These counts relate to a federal
22   investigation into an agreement between the City of Anaheim and SRB Management
23   (which is an entity affiliated with the Los Angles Angels major league baseball team) to
24   sell and redevelop the Angels Stadium site. (PSR ¶¶ 22-41). Not charged are bribery,
25   honest services fraud, or any other federal corruption charge.
26         Mr. Sidhu ran for office on a promise to keep the Angels in the City and believed
27   that the Stadium agreement was in the City’s best interests. (PSR ¶¶ 54-55, 58). In
28   2019, he provided a confidential appraisal of the Stadium site to his long-time political

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 1   advisor and Chief Executive Office of the Chamber of Commerce Todd Ament before
 2   it was publicly disclosed. (PSR ¶¶ 27, 33, 56). In July 2020, Mr. Sidhu sent an email
 3   from his personal email account to Mr. Ament and an Angels consultant with an
 4   attached confidential memorandum prepared by City attorneys which discussed the sale
 5   terms. (PSR ¶¶ 27, 29). Mr. Sidhu shared this information so that the Angels could
 6   purchase the site on beneficial terms. (PSR ¶¶ 27, 29-33, 56). In September 2020, Mr.
 7   Sidhu voted in favor of the Stadium agreement without disclosing that he had shared
 8   confidential information with Mr. Ament and the Angels consultant. (PSR ¶ 37).
 9         Thereafter, Mr. Ament began cooperating with federal authorities and would
10   later plead guilty to wire fraud, false statements to a bank, and filing a false tax return
11   in an unrelated case. See United States of America v. Todd Ament, No. 8:22-cr-00081-
12   FLA (C.D. Cal.). In late-2021 and early 2022 (more than fifteen months after approval
13   of the Stadium agreement), Mr. Ament surreptitiously recorded Mr. Sidhu boasting that
14   he expected the Angels to contribute $1 million to his reelection campaign. (PSR ¶¶ 34-
15   36, 58). Mr. Sidhu never agreed with the Angels to use his position as mayor to
16   approve the stadium deal, he never asked the Angels for a campaign donation after the
17   Stadium deal was approved, and the Angels never made any such campaign donation.
18   (PSR ¶ 58; USPO Rec. at 6). Indeed, Mr. Sidhu has never been charged with bribery,
19   honest services fraud, or any other public corruption offense.
20         In early-2022, the Orange County Grand Jury began to publicly investigate the
21   Stadium agreement, and Mr. Ament (who was still cooperating with federal authorities)
22   told Mr. Sidhu that he received a federal grand jury subpoena. (PSR ¶ 29). Thereafter,
23   Mr. Sidhu deleted emails from his personal email account (including the July 21, 2020
24   email) with the intent to impede and obstruct the federal investigation because he
25   feared that the investigation would be used against him in his reelection campaign.
26   (PSR ¶¶ 29-32, 57, 60). Although Mr. Sidhu’s email service permanently deleted the
27   emails after thirty days, Mr. Sidhu’s conduct did not actually impede or obstruct the
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 1     federal investigation because federal agents obtained the deleted emails from Mr.
 2     Ament. (PSR ¶¶ 29-33, 38).
 3           On May 12, 2022, federal agents approached Mr. Sidhu who was walking alone
 4     in a parking lot after leaving a political event and surreptitiously recorded their surprise
 5     interview.(PSR ¶ 39). When questioned about the negotiations over the Stadium
 6     agreement and his emails, Mr. Sidhu panicked over how his political opponents would
 7     characterize his conduct if the deleted emails became public and falsely stated that he
 8     did not expect to receive anything from the Angels, did not conduct City business from
 9     his personal email account, and did not recall providing information about the Stadium
10     agreement to the Angels consultant during the negotiations. (PSR ¶¶ 39-41, 59-60).
11     Upon learning that he was the target of a federal investigation, Mr. Sidhu resigned his
12     position as Mayor. (PSR ¶¶ 26, 163).
13           Counts Two and Three: Wire Fraud and False Statements Relating to the
14           Evasion of Sales Tax on a Helicopter Purchase
15           Mr. Sidhu waived his right to grand jury indictment and pleaded guilty to Counts
16     Two and Four of the Information which charge him with wire fraud in violation of 18
17     U.S.C. § 1343 and false statements in violation of 18 U.S.C. § 1001(a)(2) relating to his
18     evasion of sales tax on a helicopter purchase. Specifically, in October and November
19     2020, Mr. Sidhu falsely stated in sales documents and a Federal Aviation
20     Administration registration form that he resided in the State of Arizona. (PSR ¶¶ 42-
21     48). He did so to avoid paying approximately $15,887 of sales tax to the State of
22     California. (PSR ¶¶ 42-48). Since pleading guilty, Mr. Sidhu filed corrected documents
23     with the FAA and paid $18,112 to the State of California for the uncollected sales tax
24     and interest. (PSR ¶ 50).
25     THE ADVISORY SENTENCING GUIDELINE RANGE IS 8-14 MONTHS
26                        AND THE FINE RANGE IS $4,000 TO $40,000
27           Mr. Sidhu objects to the Probation Office’s assessment of a 2-level specific
28     offense characteristic adjustment pursuant to U.S.S.G. § 2J1.2(b)(3)(B) in calculating

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 1     the adjusted offense level for Counts One and Four. (PSR ¶¶ 73-76). This adjustment
 2     provides for a 2-level increase “[i]f the offense … involved the selection of any
 3     essential or especially probative record, document, or tangible object, to destroy or
 4     alter ….” U.S.S.G. § 2J1.2(b)(3)(B). This adjustment was added following passage of
 5     the Sarbanes-Oxley Act of 2002, Pub. L. No. 107-56, 116 Stat. 745, pursuant to
 6     Congress’ directive to “review and amend, as appropriate, the Federal Sentencing
 7     Guidelines and related policy statements to ensure that … existing enhancements
 8     contained in United States Sentencing Guideline 2J1.2 relating to obstruction of justice
 9     are adequate in cases where … the destruction … of evidence involves … the selection
10     of evidence that is particularly probative or essential to the investigation ….” Id.
11     § 805(a), 116 Stat. 802; see also U.S.S.G. App. C at 767 (Amendment 647). In adding
12     this adjustment, the Sentencing Commission recognized that Congress sought to ensure
13     that the “guideline offense levels and enhancement for obstruction of justice offenses
14     are adequate in cases where documents or other physical evidence are actually
15     destroyed ….” U.S.S.G. App. C at 767 (Amendment 647) (emphasis added).
16           The specific offense adjustment for destroying an “essential or especially
17     probative” document does not apply in this case. The deleted emails, while relevant to
18     the federal investigation, were not essential or especially probative to the investigation
19     because Mr. Ament, who was cooperating with the authorities during the investigation
20     of Mr. Sidhu, provided the emails to federal agents. For these reasons, Mr. Sidhu’s
21     conduct did not actually destroy any evidence, much less any evidence that was
22     “essential or especially probative” to the investigation.
23           Without the adjustment under § 2J1.2(b)(3)(B), Mr. Sidhu’s adjusted offense
24     level for Counts One and Four is 14. (PSR ¶ 72). As this is within 4 levels of the
25     adjusted offense level for Counts Two and Three, the total number of units is 2 which
26     results in a 2-level multiple count adjustment, U.S.S.G. § 3D1.4, and a combined
27     adjusted offense level 16. (PSR ¶ 14). With a 3-level reduction for acceptance of
28     responsibility pursuant to U.S.S.G. § 3E1.1 (PSR ¶¶ 94-95), and an additional 2-level

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 1     reduction for being a zero-point offender pursuant to U.S.S.G. § 4C1.1(a) (PSR ¶¶ 96-
 2     97), Mr. Sidhu total offense level is 11. With a criminal history category I (PSR ¶ 105),
 3     Mr. Sidhu’s sentencing guideline range is properly calculated at 8-14 months and his
 4     fine range is $4,000 to $40,000. U.S.S.G. Ch. 5, Pt. A (Sentencing Table); U.S.S.G.
 5     § 5E1.2(a)(3).
 6                      THE COURT SHOULD SENTENCE MR. SIDHU TO
 7                      THREE YEARS’ PROBATION AND A $40,000 FINE
 8           Section 3553(a)(2) of title 18 is the “overarching provision” of the Sentencing
 9     Reform Act. Kimbrough v. United States, 552 U.S. 85, 101 (2007). It provides as
10     follows:
11           the court shall impose a sentence sufficient but not greater than necessary
12           to . . . reflect the seriousness of the offense, . . . promote respect for the
13           law, and . . . provide just punishment for the offense; . . . afford adequate
14           deterrence to criminal conduct; . . . protect the public from further crimes
15           of the defendant; and . . . provide the defendant with needed educational or
16           vocational training, medical care, or other correctional treatment in the
17           most effective manner . . . .
18     18 U.S.C. § 3553(a)(2) (emphasis added). Section 3553(a) requires the court to
19     consider the nature and circumstances of the offense and the history and characteristics
20     of the defendant, 18 U.S.C. § 3553(a)(1); the kinds of sentences available, 18 U.S.C.
21     § 3553(a)(3); the sentencing guidelines, 18 U.S.C. § 3553(a)(4); policy statements by
22     the Sentencing Commission, 18 U.S.C. § 3553(a)(5); the need to avoid unwarranted
23     disparities among defendants with similar records who have been convicted of similar
24     conduct, 18 U.S.C. § 3553(a)(6); and the need to provide restitution. 18 U.S.C.
25     § 3553(a)(7).
26           While a sentencing court may use the guideline range as the “starting point and
27     the initial benchmark,” Gall v. United States, 552 U.S. 38, 49 (2007); Kimbrough, 552
28     U.S. at 108, it may not presume that a sentence within the guideline range is

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 1     reasonable, Nelson v. United States, 555 U.S. 350, 352 (2009); Gall, 552 U.S. at 50;
 2     Rita v. United States, 551 U.S. 338, 351 (2007), or afford the guideline range more
 3     weight than any other factor. United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008)
 4     (en banc). The court may sentence below the guidelines when a “[g]uidelines sentence
 5     itself fails to properly reflect § 3553(a) considerations,” Rita, 551 U.S. at 351, or when
 6     the court has a “policy disagreement” with a particular guideline, Spears v. United
 7     States, 555 U.S. 261, 264-66 (2009) (per curiam); Kimbrough, 552 U.S. at 109.
 8           Three-years’ probation and a fine at the high end of the advisory sentencing
 9     guideline range is sufficient to reflect the seriousness of the offenses, promote respect
10     for the law, and provide just punishment for the offense. Mr. Sidhu has no criminal
11     record and decades of public service. He immediately resigned as Mayor upon being
12     identified as a target of the federal investigation, waived his rights to indictment and
13     appeal, and already paid full restitution with interest. The government has agreed to
14     recommend a 1-level variance for Mr. Sidhu’s early acceptance of responsibility. (PSR
15     § 12). Mr. Sidhu also fully cooperated with federal authorities in their investigation of
16     others by providing complete and truthful information to federal prosecutors and agents
17     about several matters that are the subject of ongoing federal investigations.
18           By deleting emails and making false statements to federal agents, Mr. Sidhu
19     admittedly sought to impede and obstruct a federal investigation, but he did not seek to
20     cover-up criminal conduct and never committed an act of political corruption. The
21     Probation Office’s characterization of the offense conduct in its recommendation letter
22     is independent and accurate. Mr. Sidhu exercised extraordinarily poor judgment
23     believing that his political opponents would use the information against him in his
24     reelection campaign. Although criminal, Mr. Sidhu’s conduct did not actually obstruct
25     or impede the federal investigation because federal agents obtained the deleted emails
26     from Mr. Ament. Mr. Sidhu’s false registration of his helicopter in the State of Arizona
27     to evade paying California sales tax is deserving of punishment. However, given that
28     Mr. Sidhu has already paid full restitution with interest to the State of California,

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 1     probation and an additional fine at the high end of the advisory sentencing guideline
 2     range, which would be more than twice the evaded sales tax, is a substantial penalty
 3     sufficient to reflect the seriousness of the offense, promote respect for the law, provide
 4     just punishment for the offense, and deter similar conduct by others in the future.
 5           Given that Mr. Sidhu will be ordered to pay a fine, 18 U.S.C. § 3561(c)(1) does
 6     not require community service as a condition of probation. (PSR ¶¶ 208-209). Although
 7     a condition of community service is certainly within the discretion of the Court, 400
 8     hours of community service on top of a three-year term of probation and a fine at the
 9     high end of the advisory sentencing guideline range is a greater deprivation of liberty
10     than is reasonably necessary to reflect the seriousness of the offense, promote respect
11     for the law, provide just punishment for the offense, and deter others from similar
12     conduct. 18 U.S.C. § 3563(b). For these reasons, the Court should simply sentence Mr.
13     Sidhu to three-years’ probation, a $40,000 fine, and, if deemed appropriate, a
14     reasonable amount of community service.
15           Should the Court decline to afford Mr. Sidhu a variance, his 8-14 month
16     sentencing guideline range is within Zone B of the Sentencing Table and, therefore,
17     may be satisfied by probation with the condition a condition of home confinement.
18     U.S.S.G. § 5B1.1(a)(2), or extensive community service, as recommended by
19     Probation. Under such circumstances, if the Court deems necessary, a sentence of
20     three-years probation with the condition that he serve the minimum term of
21     imprisonment on home confinement would be appropriate.
22                                                          Respectfully submitted,
23     Dated: March 14, 2025                                              /s/
                                                            PAUL S. MEYER
24
                                                            CRAIG WILKE
25                                                          Attorneys for Defendant
                                                            Harish Singh Sidhu
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